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UNITED STATES DISTRICT COURT                                     DOC#:~~~~~­
SOUTHERN DISTRICT OF NEW YORK                                    DATE FILED:NQV 1 8 2014
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SAGI GENGER,

                                    Plaintiff,                       14-cv-5683 (KBF)
                           -v-
                                                                         ORDER
ORLYGENGER,

                                    Defendant.

-------------------------------------------------------------   )(
KATHERINE B. FORREST, District Judge:

         On September 30, 2014, plaintiff filed a letter-motion to compel defendant to

produce a 2010 Settlement Agreement (the "2010 Settlement Agreement"). (ECF

No. 22.) On October 7, 2014, the Court denied the motion. (ECF No. 26.) Upon

review, it is now clear that the 2010 Settlement Agreement plays a role in this case,

and it was therefore error for this Court to deny that motion. Accordingly, the

Court VACATES its October 7, 2014 order and GRANTS plaintiffs letter-motion to

compel. Defendant shall produce the 2010 Settlement Agreement to the Court and

plaintiff not later than November 21, 2014. The parties shall submit letters not

longer than three pages each regarding the potential impact of the 2010 Settlement

Agreement on the claims and defenses at issue in this case not later than
    Case 1:14-cv-05683-KBF-DCF Document 64 Filed 11/18/14 Page 2 of 2



November 25, 2014.

         SO ORDERED.

Dated:       New York, New York
             November  l8:2014

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                                            KATHERINE B. FORREST
                                            United States District Judge




                                    2
